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                 EXHIBIT 1
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 TIMOTHY STIVERS, individually and on            )     CIVIL ACTION
 behalf of all other similarly situated,         )
                                                 )     Case No.: 2:12-cv-01534-CRE
                   Plaintiff,                    )
                                                 )
 v.                                              )     Magistrate Judge Cynthia Reed Eddy
                                                 )
 OFFICE DEPOT, INC.,                             )
                                                 )
                   Defendant.                    )


                    JOINT STIPULATION AND SETTLEMENT AGREEMENT

          This Joint Stipulation and Settlement Agreement (“Stipulation”) is made and entered into

 by and among Class Representative Timothy Stivers (“Class Representative”), individually and on

 behalf of all persons similarly situated, as defined below, and Defendant Office Depot, Inc.

 (“Defendant,” “Office Depot,” or the “Company”).

 1.       DEFINITIONS

          1.1      “Action” or “Lawsuit” means the above-captioned action.

          1.2      “Attorneys’ Fees and Costs” means the payments made to Class Counsel pursuant

 to Sections 5.1 and 6.4.5 of this Stipulation, which shall be deducted from the Maximum

 Settlement Amount. The amount of Attorneys’ Fees and Costs will be determined and approved

 by the Court in the Final Approval Order. Provided that Class Counsel shall not seek more than

 33% of the Maximum Settlement Amount in attorneys’ fees, Office Depot shall not contest Class

 Counsel’s application for an attorneys’ fee award. Costs shall include, but are not limited to, those

 costs identified in Section 6.2.6 of this Stipulation relating to distribution of the Class Notice.




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         1.3    “Class” means the group of persons employed by Office Depot in the

Commonwealth of Pennsylvania during the Class Period as an Assistant Store Manager for at least

one calendar week.

         1.4    “Class Counsel” means Berger & Montague, P.C.; Klafter, Olsen & Lesser, LLP;

and Whitfield Bryson & Mason LLP.

         1.5    “Class Member” or “Member of the Class” means a Person who is a member of the

Class.

         1.6    “Class Period” means the period during which the Class Member was employed by

Office Depot in the Commonwealth of Pennsylvania as an Assistant Store Manager between

October 23, 2008 and January 1, 2011.

         1.7    “Class Representative” means Timothy Stivers.

         1.8    “Class Representative’s Released Claims” collectively means any and all claims,

obligations, demands, actions, rights, causes of action, and liabilities against the Office Depot

Releasees of whatever kind and nature, character, and description, whether in law or equity,

whether sounding in tort, contract, federal, state and/or local law, statute, ordinance, regulation,

common law, or other source of law, whether known or unknown, and whether anticipated or

unanticipated, by the Class Representative arising during the period beginning on the Class

Representative’s first date of employment with Office Depot, and ending on the date on which the

Court enters the Preliminary Approval Order, for any type of relief, including without limitation,

claims for wages, damages, reimbursement of expenses, costs, premium pay, penalties (including

late payment penalties), liquidated damages, punitive damages, interest, attorneys’ fees, litigation

costs, restitution, or equitable relief, including, but not limited to, claims pursuant to the




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Pennsylvania Minimum Wage Act, Pennsylvania Wage Payment and Collection Act, Fair Labor

Standards Act, and for unjust enrichment.

       1.9      The “Company” means Defendant Office Depot, Inc.

       1.10     “Counsel for the Company” means Morgan, Lewis & Bockius LLP.

       1.11     “Court” means the United States District Court for the Western District of

Pennsylvania.

       1.12     “Effective Date” means the date on which the Judgment becomes a Final Judgment.

       1.13     “Final Approval Hearing” means a hearing set by the Court to take place on or

about the date which is after the ninety (90) day period for Class Action Fairness Act (“CAFA”)

notice for the purpose of (i) determining the fairness, adequacy, and reasonableness of the

Stipulation terms and associated settlement pursuant to class action procedures and requirements;

(ii) determining the good faith of the Stipulation and associated settlement; and (iii) entering

Judgment.

       1.14     “Final Approval Order” means the order issued by the Court after the Final

Approval Hearing approving the settlement and entering Judgment.

       1.15     “Final Judgment” means the latest of the following dates: (1) the date of final

affirmance on an appeal of the Judgment; (2) the date of final dismissal with prejudice of the last

pending appeal from the Judgment; or (3) if no appeal is filed, the expiration of the period for filing

or noticing of any form of valid appeal of the Judgment. Notwithstanding the foregoing, any

proceeding or order, or any appeal or petition for a writ pertaining solely to the award of attorneys’

fees or litigation costs pursuant to Section 5.1 shall not, by itself, in any way delay or preclude the

Judgment from becoming a Final Judgment.




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       1.16    “Final Settlement Share” means each Participating Class Member’s pro rata share

of the Net Settlement Amount based upon the terms of this Stipulation and the Plan of Allocation,

and based on the actual number of Participating Class Members, provided that the Minimum

Participation Rate is met or exceeded.

       1.17    “Initial Settlement Share” means each Participating Class Member’s pro rata share

of the Net Settlement Amount, based upon the terms of this Stipulation and the Plan of Allocation.

The Initial Settlement Share shall be expressed as a range, with the low end of the range

representing the pro rata share to the Participating Class Member if all Class Members become

Participating Class Members, and the high end of the range representing the pro rata share to the

Participating Class Members if only the Minimum Participation Rate has been met, but not

exceeded, and the only Participating Class Members are those with the fewest settlement shares,

and none of the Class Members has opted-out of the Action.

       1.18    “Judgment” means the judgment to be rendered by the Court pursuant to this

Stipulation.

       1.19    “Last Known Address” or “Last Known Addresses” means the most recently

recorded mailing address for a Class Member as such information is contained in Office Depot’s

databases.

       1.20    “Maximum Settlement Amount” means the maximum amount that Office Depot

shall pay under the terms of this Stipulation, which is the gross sum of Ninety-Eight Thousand

Dollars and Zero Cents ($98,000.00), which includes, but is not limited to, amounts payable to

Participating Class Members, amounts payable as Attorneys’ Fees and Costs, amounts payable as

a Service Award to the Class Representative, and employee taxes. Under no circumstances shall

Office Depot be required to pay or contribute any monies in excess of the Maximum Settlement




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Amount, except that Office Depot is responsible for paying the employer’s share of the payroll

taxes as discussed in Section 5.9, infra.

       1.21    “Minimum Participation Rate” means that 50% of the Class Members have elected

to become Participating Class Members.

       1.22    “Net Settlement Amount” means the Maximum Settlement Amount minus the

Class Representative’s Service Payment, Attorneys’ Fees and Costs, and the amounts based on the

Final Settlement Share allocated to Class Members who properly and timely submit Opt Outs,

which shall remain property of Office Depot pursuant to Section 5.4.

       1.23    The “Notice Mailing Deadline” shall be the date fourteen (14) days after the

Preliminary Approval Date.

       1.24    “Notice Regarding Pendency of Class Action” or “Class Notice” means a notice

entitled “Notice To Class Members Regarding Pendency of Class Action and Notice of Hearing

On Proposed Settlement” to be approved by the Court, substantially in the form attached hereto as

Exhibit A.

       1.25    The “Notice Response Deadline” shall be the date sixty (60) days after the Class

Notice is mailed to the Class Members.

       1.26    “Office Depot Releasees” means Office Depot, each of its affiliates (including,

without limitation, their parents and subsidiaries), predecessors, successors, divisions, joint

ventures, and related companies and assigns, and each of these entities’ past or present directors,

officers, employees, partners, members, principals, agents, insurers, co-insurers, re-insurers,

shareholders, attorneys, and personal or legal representatives.




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       1.27    “Opt Out” or “Opt Outs” means written and signed requests by Class Members to

be excluded from the Settlement Class, which are submitted in the manner and within the time set

forth in the Notice Regarding Pendency of Class Action.

       1.28    “Participating Class Member” means a Class Member who properly and timely

submits a Settlement Claim Certification Form in response to the Class Notice.

       1.29    “Plan of Allocation” means the pro rata allocation of the Net Settlement Amount to

Participating Class Members. Class Counsel, with the Company’s review and approval, will

calculate the Initial Settlement Share for each Class Member based on the total number of overtime

hours shown in the Company’s records during the period the Class Member worked as an Assistant

Store Manager for Office Depot in the Commonwealth of Pennsylvania between October 23, 2008

and January 1, 2011. Each overtime hour will represent one settlement share. Class Counsel will

add a total of one (1) settlement share for each week that a Class Member was employed, as

identified in the data provided by the Company, during the period from October 23, 2008 through

January 1, 2011. Class Counsel will divide up the sum of shares for all Class Members into the Net

Settlement Amount to reach a per share dollar figure. The figure will then be multiplied by each

Class Member’s number of settlement shares and will separately be multiplied by the number of

settlement shares assuming that the Minimum Participation Rate is met, but not exceeded, by Class

Members with the fewest number of settlement shares. Together, these two figures will determine

each Class Member’s Initial Settlement Share. After the Notice Response Deadline, provided that

the Minimum Participation Rate is met, Class Counsel, with the Company’s review and approval,

will divide up the sum of shares for all Participating Class Members into the new Net Settlement

Amount to reach a per share dollar figure. The figure will then be multiplied by each Participating

Class Member’s number of settlement shares to determine each Participating Class Member’s




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Final Settlement Share. The formula for determining the Final Settlement Share for Participating

Class Members shall be set forth in the Class Notice provided to all Class Members. The entire

Net Settlement Amount will be divided on a pro rata basis pursuant to the above-stated formula to

all Participating Class Members.

       1.30    “Preliminary Approval Date” means the date on which the Court enters the

Preliminary Approval Order.

       1.31    “Preliminary Approval Order” or “Order Granting Preliminary Approval of the

Settlement” means an order to be executed and filed by the Court approving the terms contained in

this Stipulation, certifying a class action for settlement purposes only as provided in Section 4, and

ordering the mailing of Class Notice.

       1.32    “Reasonable Address Verification Measure” means performing address searches

using public and proprietary electronic resources which collect data from various sources, such as

utility records, property tax records, motor vehicle registration records (where allowed) and credit

bureaus to review the accuracy of, and if possible, update a mailing address.

       1.33    “Released Claims of Participating Class Members” means any and all federal, state

and local wage and hour claims, including but not limited to claims under the Pennsylvania

Minimum Wage Act, Pennsylvania Wage Payment and Collection Act, Fair Labor Standards Act,

and for unjust enrichment, for any type of relief, including without limitation, claims for wages,

overtime pay, unpaid costs, penalties (including, but not limited to, late payment penalties, record

keeping penalties, and meal break penalties), premium pay, liquidated damages, punitive damages,

interest, attorneys’ fees, litigation costs, restitution, and equitable relief, whether known or

unknown, which were or could have been asserted in the Action, for the time period of each




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Participating Class Member’s employment as an Assistant Store Manager in the Commonwealth

of Pennsylvania from the beginning of their employment through the Preliminary Approval Date.

         1.34    “Released State Law Claims” means any and all claims asserted in the Action

which arose under the laws of Pennsylvania, including claims under the Pennsylvania Minimum

Wage Act, Pennsylvania Wage Payment and Collection Act, and for unjust enrichment, for the

time period of each Class Member’s employment as an Assistant Store Manager in the

Commonwealth of Pennsylvania from the beginning of their employment through the Preliminary

Approval Date.

         1.35    “Service Award” means the payment made to the Class Representative, pursuant to

Section 5.13 of this Stipulation, for his efforts in bringing and prosecuting this matter, and in

exchange for the Class Representative’s Released Claims, and which shall be deducted from the

Maximum Settlement Amount. A total gross amount of One Thousand Five Hundred Dollars

($1,500.00) shall be allocated for this payment. The Service Award must be approved by the

Court.

         1.36    “Settlement Check” means the check sent to each Participating Class Member

pursuant to Sections 5.1, 5.2, 5.3 and 6.4.4.

         1.37    “Settlement Class” means all of the Class Members who do not opt out of the

settlement by timely submitting a written and signed notice of election to opt out pursuant to

Section 6.3.2.

         1.38    “Settlement Class Member” or “Member of the Settlement Class” means any

Person who is a member of the Settlement Class.

         1.39    “Settling Parties” or “Parties” means Office Depot and the Class Representative on

behalf of himself and all Members of the Settlement Class.




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         1.40   “Stipulation” means this agreement, i.e., the Joint Stipulation and Settlement

Agreement, together with and all of its attachments and exhibits, which the Settling Parties

understand and agree sets forth all material terms and conditions of the settlement between them,

and which is subject to Court approval. It is understood and agreed that Office Depot’s obligations

for payment under this Stipulation are conditioned on, inter alia, the occurrence of the Effective

Date.

         1.41   “Updated Address” means a mailing address that was updated via a Reasonable

Address Verification Measure or via an updated mailing address provided by the United States

Postal Service or a Class Member, or any other source.

2.       RECITALS

         2.1    Class Representative has made certain allegations concerning his employment with

the Company regarding an asserted failure to pay overtime compensation properly, which the

Company has denied and continues to deny.

         2.2    Specifically, the Lawsuit claims that the Company paid overtime compensation to

the Class Representative and the Class pursuant to the fluctuating workweek method, in violation

of Pennsylvania state law.

         2.3    The Company has provided information to demonstrate that it stopped paying Class

Members pursuant to the fluctuating workweek method on or around January 2, 2011. The

Company denied and continues to deny that its actions violated any federal, state, local or common

law, statute, ordinance, directive, regulation or order (including executive orders).

         2.4    The Parties and their counsel have considered that their respective interests are best

served by compromise, settlement and dismissal of the Action with prejudice and have concluded

that the terms of this Stipulation are fair, reasonable and adequate.




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3.     COMPROMISE ACKNOWLEDGMENT

       3.1     Class Representative acknowledges and agrees that this Stipulation, and the

consideration provided herein, have been and are made and received solely on the basis of a

compromise of disputed claims, and that this Stipulation is not, and is not to be construed as, an

admission by the Company of any liability whatsoever. This Stipulation is not, and shall not be

construed as, an admission of any act or fact whatsoever, including any violation of federal, state,

local or common law, statute, ordinance, directive, regulation or order (including executive

orders). Class Representative further acknowledges that the Company’s agreement to class action

treatment of Class Representative’s Pennsylvania state law claims, for settlement purposes only,

will not be deemed to be an admission or concession by the Company that class or collective

treatment is or was appropriate in the Action or in any other action.

       3.2     The Parties have exchanged information, data and documents and conducted

independent investigations of the facts and law during the Action. Class Counsel and Counsel for

the Company have further analyzed the applicable law as applied to the facts discovered regarding

the allegations of the Class Representative, the Company’s defenses thereto, and the damages

claimed by the Class Representative.

       3.3     Class Representative and Class Counsel believe that the claims asserted in the

Action have merit. However, Class Representative and Class Counsel recognize and acknowledge

the expense and length of continued proceedings necessary to prosecute the Action against the

Company through trial and possible appeals. Class Representative and Class Counsel have also

taken into account the uncertain outcome and the risk of any litigation, as well as the difficulties

and delays inherent in such litigation and the likelihood of protracted appellate review. Class

Counsel have engaged in intensive arm’s length negotiations with Counsel for the Company with a




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view to achieving settlement. Class Representative and Class Counsel believe that the settlement

reached confers substantial benefits upon the Class Representative and the Class Members and that

the settlement is fair, reasonable, adequate, in accordance with the law, and in the best interests of

the Class Representative and the Class Members.

       3.4     The Company and Counsel for the Company believe that the claims asserted in the

Action are without merit. Thus, the Company has denied and continues to deny, specifically and

generally, the claims asserted in the Action, any and all liability or wrongdoing of any kind

whatsoever associated with any of the facts or claims alleged in the Action, and it makes no

concessions or admissions of wrongdoing or liability of any kind whatsoever. The Company

maintains that for any purpose other than settlement, the Action is not suitable or appropriate for

class action treatment under Fed. R. Civ. P. 23. Although the Company has vigorously contested

the allegations in the Action to date and denies that it committed any wrongful action or violation

of law, it believes nonetheless that further litigation with respect to the Class Representative and

the Class would be protracted, expensive, and contrary to its best interests. Substantial amounts of

time, energy, and other resources have been and, absent settlement, will continue to be devoted to

the Company’s defense against the claims asserted by Class Representative. In light of these

realities, the Company believes that settlement is the best way to resolve the disputes among the

Parties while minimizing its own further expenditures.

       3.5     The Parties understand and agree that this settlement represents a compromise of

disputed claims, and have agreed to enter into this Stipulation to avoid the risks, costs, and delays

associated with further proceedings. Pursuant to Federal Rule of Evidence 408, and any other

analogous rules of evidence that are applicable, neither the settlement, nor any act performed or

document executed pursuant to, or in furtherance of, the settlement: (a) is or may be deemed to be




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or may be used as an admission or evidence of, the validity of any Released Claims of Participating

Class Members and/or any Released State Law Claims, or of any wrongdoing or liability of the

Office Depot Releasees, or any of them; or (b) is or may be deemed to be or may be used as an

admission or evidence of, any fault or omission of the Office Depot Releasees, or any of them, in

any civil, criminal or administrative proceeding in any court, administrative agency, or other

tribunal. Class Representative and Class Counsel agree not to argue or present any argument, and

hereby waive any argument, that the Company could not contest (or are estopped from contesting)

class action treatment under Fed. R. Civ. P. 23 on any grounds as a result of entering into this

Stipulation, if the Court fails to enter a Final Judgment. This Stipulation shall not be deemed an

admission by, or grounds for estoppel against, the Company that class action treatment pursuant to

Fed. R. Civ. P. 23 in the Action is proper or cannot be contested on any grounds.

        3.6     The Parties, through their counsel, will seek judicial approval of this Stipulation. In

the event this Stipulation is not approved by the Court, this Stipulation will no longer have any

effect and the Parties will revert to litigating the Action as of the date and time immediately prior to

the execution of this Stipulation.

4.      CERTIFICATION OF A CLASS ACTION FOR SETTLEMENT PURPOSES
        ONLY

        4.1     The Parties stipulate, for settlement purposes only, to the certification by the Court

of a class action as to all Pennsylvania state law claims asserted in the Action.

        4.2     If for any reason the Court does not approve this Stipulation, fails to enter the

Preliminary Approval Order, fails to enter the Final Approval Order or fails to enter the Judgment,

or if this Stipulation is lawfully terminated for any other reason, the Parties’ stipulation to the

certification of a class action for settlement purposes only shall be deemed null and void ab initio,




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and Office Depot shall retain the absolute right to dispute the propriety of class certification on all

applicable grounds.

5.     PAYMENT AND ADMINISTRATION

       5.1     In consideration for the terms, conditions and undertakings by or relating to the

Class Representative and the Class in this Stipulation, and the mutual promises and covenants

contained herein, the Company will pay the Class Representative, Participating Class Members,

and Class Counsel an amount not to exceed the Maximum Settlement Amount. This is an amount

agreed to by the Class Representative and Office Depot to compromise, settle and satisfy the

disputed claims of the Class Representative and Participating Class Members for all back wages,

liquidated damages, interest, and attorneys’ fees and costs. The Maximum Settlement Amount

includes Attorneys’ Fees and Costs and a Service Award approved by the Court. From this

Maximum Settlement Amount, an award of Attorneys’ Fees and Costs approved by the Court will

be paid to Class Counsel in full and complete settlement of all claims for attorneys’ fees and costs

associated with the litigation of the Action.

       5.2     From the Maximum Settlement Amount, the Net Settlement Amount shall be

allocated to Participating Class Members pursuant to the Plan of Allocation.

       5.3     To participate in the settlement and receive a settlement payment from the Net

Settlement Amount, a Member of the Class must become a Participating Class Member by timely

executing and submitting a settlement claim certification form, in substantially the same form as

set forth in Exhibit B, which shall contain a release consistent with the Released Claims of

Participating Class Members defined in Section 1.33. To receive a settlement payment, a

Participating Class Member must also submit an executed IRS Form W-9 (“Form W-9”). For the

convenience of each Class Member, a blank Form W-9 will be included with the Class Notice.




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       5.4     Class Members shall be informed of their right to opt-out of the settlement.

Amounts based on the Final Settlement Share allocated from the Net Settlement Amount pursuant

to Section 5.3 to Class Members who properly and timely opt out of the Settlement Class in the

manner and within the time period set forth in the Notice Regarding Pendency of Class Action

shall remain property of Office Depot; provided, however, that there shall not be a corresponding

reduction of the Attorneys’ Fees and Costs awarded by the Court. Amounts allocated to Class

Members who do not become Participating Class Members but who do not opt-out of the

settlement shall be reallocated to Participating Class Members pursuant to the Plan of Allocation.

       5.5     Class Members who do not opt-out but who do not become Participating Class

Members shall, upon the Court’s Final Approval Order, release the Released State Law Claims.

       5.6     As further detailed in Sections 5.7, 5.9, 5.11 and 5.12, and for each payment made

pursuant to Sections 6.4.4 and 6.4.6, Office Depot will report each payment to government

authorities, including the Internal Revenue Service, as required by law.

       5.7     The Company will be responsible for processing and printing Settlement Checks

pursuant to the Plan of Allocation in the amount of the Final Settlement Shares, and for

withholding from the Settlement Checks, reporting to federal and state taxing authorities, and

remitting to the appropriate federal and state taxing authorities all taxes required by law. Fifty

percent of each Participating Class Member’s Final Settlement Share will represent payments for

interest and/or penalties and will be paid subject to an IRS Form 1099, and the remaining fifty

percent of each Participating Class Member’s Final Settlement Share will be reported as, and will

be withheld upon as, wages for tax purposes.

       5.8     IRS Forms 1099 shall be issued by the Company or its agent with respect to the

payments made to Class Counsel for Attorneys’ Fees and Costs. The Company or its agent will




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also issue an IRS Form 1099 to the Class Representative for his Service Payment. Class Counsel

must provide to Counsel for the Company an executed Form W-9 in order to receive its payment of

Attorneys’ Fees and Costs.

       5.9     The Company will also be responsible for ensuring that withholding of federal,

state and local income tax, including each Participating Class Member’s share of FICA taxes, are

withheld from payments to Participating Class Members. The employer’s share of the applicable

FICA, SUTA and FUTA contributions for each Participating Class Member shall be separately

paid by the Company in addition to the Maximum Settlement Amount. The Company or its agent

shall ensure the timely payment of all employer portions of the applicable taxes.

       5.10    Any amount paid to Participating Class Members shall not create any credit or

otherwise affect the calculation of benefits provided under any pension, retirement, retirement

savings, excess or supplemental retirement or retirement savings, any deferred compensation,

bonus, equity, incentive, severance, displacement, supplemental unemployment, health, life, or

disability plan, or any benefit, pension, or other compensation or benefit plan, policy, program, or

arrangement (collectively, the “Office Depot Benefit Plans”) provided by Office Depot. No

payment made pursuant to this Settlement will (1) be considered as “Compensation,” “Earnings,”

“Salary,” or any similar definition under any Office Depot Benefit Plan; (2) require any

contribution or award under any Office Depot Benefit Plan; or (3) modify benefits, contributions

or coverage under any Office Depot Benefit Plan.

       5.11    Other than the withholding and reporting requirements set forth above, Class

Representative and Participating Class Members shall be solely responsible for the reporting and

payment of the employee’s share of any federal, state and/or local income or other taxes, or any

other withholdings, if any, on payments made pursuant to this Stipulation.




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       5.12    The Company makes no representations and it is understood and agreed that the

Company has made no representations as to the taxability of any payments pursuant to this

Stipulation, including all payments to Class Representative and Participating Class Members and

all payments to Class Counsel. The Company shall bear no responsibility for any tax liabilities for

the Class Representative’s and/or Participating Class Members’ share of any federal, state and/or

local income or other taxes and shall be indemnified and held harmless by the Class Representative

and/or Participating Class Members in the event that the Company is assessed with any fines,

penalties, or interest by the IRS (or any other federal, state, or local government agency) relating to

the payments made that will be reported on an IRS Form 1099.

       5.13    Class Counsel will seek, and Office Depot will not oppose, a Service Award to

Class Representative in the amount of One-Thousand-Five-Hundred Dollars and Zero Cents

($1,500.00), subject to Court approval. Class Representative will receive an IRS Form 1099 for

his Service Award, which shall not be subject to withholding and/or deductions.

       5.14    Except for the fees, costs and other expenses set forth in Section 1.2, the Parties

shall bear responsibility for their own fees, costs and expenses incurred by them or arising out of

the Action and will not seek reimbursement thereof from any party to this Stipulation or the Office

Depot Releasees.

6.     NOTICE OF THE SETTLEMENT AND PARTICIPATION PROCESS

       6.1     Court Approval of Notice to the Class

               6.1.1   Promptly upon execution of this Stipulation, the Class Representative and

Office Depot shall jointly move the Court for the entry of a Preliminary Approval Order: (i)

certifying a class action for settlement purposes only; (ii) approving the terms of this Stipulation,

including the Plan of Allocation and the form of Notice Regarding Pendency of Class Action,




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subject to the Company’s right to withdraw in writing from the Stipulation pursuant to Section 17

of the Stipulation; and (iii) scheduling the Final Approval Hearing for the purposes of determining

the fairness of the settlement, granting final approval of the settlement, and entering Judgment.

               6.1.2   Within ten (10) days following the filing of this Stipulation with the Court,

Office Depot shall serve upon the Attorney General of the United States, and the appropriate

Pennsylvania official, and the appropriate official of any other state where Class Members reside

according to Office Depot’s records, a notice of the proposed settlement in compliance with the

requirements of CAFA, 28 U.S.C. § 1715. A copy of the CAFA Notice is attached as Exhibit C.

       6.2     Distribution of Notice

               6.2.1   Upon entry of the Preliminary Approval Order, Class Counsel will facilitate

the mailing of the Class Notice to all Class Members at their Last Known Addresses. This Class

Notice, along with a settlement claim certification form and a blank Form W-9, shall be mailed via

first class mail through the United States Postal Service, postage pre-paid, with an enclosed,

self-addressed, stamped return envelope included. This Class Notice and its envelope or covering

shall be marked to denote the return address of Class Counsel. Office Depot shall provide the

name, Last Known Address, telephone number, Social Security Number, the total number of

overtime hours worked by each Class Member in Pennsylvania during the Class Period, and the

number of weeks each Class Member was employed as an Assistant Store Manager in

Pennsylvania during the Class Period to Class Counsel in order to process and mail the Notices and

respond to inquiries about the settlement from Class Members.

               6.2.2   Prior to mailing the Class Notice to each Class Member, Class Counsel

shall undertake a Reasonable Address Verification Measure to ascertain the current accuracy of

the Last Known Address of each Class Member. To the extent this process yields an Updated




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Address, that Updated Address shall replace the Last Known Address and be treated as the new

Last Known Address for purposes of this Stipulation and for subsequent mailings.

               6.2.3   Unless the Parties agree otherwise in writing or the Court so orders, each of

the Class Notices and the attachments shall be mailed to the Last Known Addresses of the Class

Members no later than the Notice Mailing Deadline.

               6.2.4   Unless Class Counsel receives a Class Notice returned from the United

States Postal Service for reasons discussed below in this Section, that Class Notice shall be

deemed mailed and received by the Class Member to whom it was sent five (5) days after mailing.

In the event that subsequent to the first mailing of a Class Notice and prior to the deadline for a

response, that Class Notice is returned to Class Counsel by the United States Postal Service with a

forwarding address for the recipient, Class Counsel shall re-mail the notice to that address, the

notice will be deemed mailed as of that date, and the forwarding address shall be deemed the

Updated Address for that Class Member. In the event that subsequent to the first mailing of a

Class Notice, and at least thirty (30) days prior to the Notice Response Deadline, that Class Notice

is returned to Class Counsel by the United States Postal Service because the address of the

recipient is no longer valid, i.e., the envelope is marked “Return to Sender,” Class Counsel shall

make efforts to attempt to ascertain the current address of the particular Class Member in question

and, if such an address is ascertained, Class Counsel will re-send the Class Notice promptly upon

receiving such information; if no Updated Address is obtained for that Class Member, the Class

Notice shall be sent again to the Last Known Address. In either event, the Class Notice shall be

deemed received once it is mailed for the second time.

               6.2.5   To the extent a Class Member has not submitted to Class Counsel a

Settlement Claim Certification Form or an Opt-Out within twenty-one (21) days of the Notice




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Mailing Deadline, Class Counsel shall send that Class Member a duplicate copy of the Class

Notice and attachments thereto via first class mail through the United States Postal Service,

postage pre-paid, with an enclosed, self-addressed stamped return envelope.

               6.2.6   Class Counsel may contact Class Members through their last known

telephone number for purposes of administrating the Notice.

               6.2.7   Office Depot shall encourage Class Members to participate in the

Settlement and to return Settlement Claim Certification Forms, and shall assist in the collection of

Settlement Claim Certification Forms, via the Company’s Director of Employee Relations. The

Notice Regarding Pendency of Class Action will advise Class Members of this option.

               6.2.8   Part of the Attorneys’ Fees and Costs paid to Class Counsel by Office Depot

shall include all costs of the mailing described in this Section 6.2, the cost of the envelopes in

which the Class Notice will be mailed, the cost of reproducing the Class Notice, and the cost of

postage to send the Class Notice. The Class Representative acknowledges that Office Depot’s

agreement to pay the mailing costs as part of Attorneys’ Fees and Costs paid to Class Counsel

constitutes part of the consideration to the Class.

       6.3     Response to Notice Regarding Pendency of Class Action

               6.3.1    Class Members may elect to “opt out” of the Settlement Class and thus

exclude themselves from the Action, the settlement, and the Settlement Class. Class Members

who wish to exercise this option must submit a written notice of the Class Member’s election to

opt-out of the Settlement Class to Class Counsel by the Notice Response Deadline. The Class

Notice shall advise Class Members of this option. If a notice of election to opt out from a Class

Member is not received by Class Counsel postmarked on or before the Notice Response Deadline,

then that Class Member will be deemed to have forever waived his or her right to opt out of the




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Settlement Class. Class Members who do not timely submit a written notice of intent to opt-out of

the Settlement Class shall be deemed Members of the Settlement Class. Class Members who do

timely submit written notice of the election to opt-out of the Settlement Class shall have no further

role in the Action, and for all purposes they shall be regarded as if they never were either a party to

the Action or a Class Member, and thus they shall not be entitled to any benefit as a result of the

Action, this settlement or this Stipulation.

               6.3.2   Class Members who do not opt out of the Settlement Class pursuant to

Section 6.3.2 may object to the Stipulation by submitting written objections to Class Counsel

postmarked on or before the Notice Response Deadline. The Class Notice shall advise Class

Members of this option.

               6.3.3   Class Members who do not opt out of the Settlement Class pursuant to

Section 6.3.2 shall be deemed Members of the Settlement Class who shall be subject to the

Judgment.

               6.3.4   Settlement Class Members may elect to become Participating Class

Members by completing, executing, and mailing, per the instructions therein, the settlement claim

certification form and an executed Form W-9 to Class Counsel postmarked by the Notice

Response Deadline. Alternatively, Settlement Class Members who are current Office Depot

employees may elect to become Participating Class Members by completing, executing, and

submitting the settlement claim certification form and an executed Form W-9 to the Company’s

Director of Employee Relations by the Notice Response Deadline, and such settlement claim

certification forms and executed Forms W-9 shall, in turn, be provided to Class Counsel by

Counsel for the Company within a reasonable time period of approximately one week from being

received.




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               6.3.5   Participating Class Members who, for future reference and mailings from

the Court, Class Counsel or Office Depot, wish to change the name or address listed on the

envelope in which the Class Notice was first mailed to them, must correct such information when

returning the Settlement Claim Certification Form. The new address provided shall be the

“Updated Address” for any such Participating Class Member.

               6.3.6   Only Participating Class Members shall be entitled to payment pursuant to

the settlement and this Stipulation.

               6.3.7   If the Minimum Participation Rate has not been met or exceeded, Class

Counsel shall so advise the Counsel for the Company within five (5) business days after the Notice

Response Deadline, and the Company shall have the right to terminate the settlement and the

Stipulation pursuant to Section 17.4.

               6.3.8   Every seven (7) calendar days beginning with the initial mailing of Notice

to the Class Members, Class Counsel shall provide Counsel for the Company with copies of all

completed Settlement Claim Certification Forms from Participating Class Members, objections

and requests from Opt-Outs received by Class Counsel. Provided the Minimum Participation Rate

has been met or exceeded, Class Counsel shall file with the Court, within fifteen (15) business days

after the Notice Response Deadline, all timely Opt-Outs received.

       6.4     Notice of Final Approval and Timing of Payments to Participating Class Members,
               the Class Representative, and Class Counsel

               6.4.1   Prior to the Final Approval Hearing and consistent with the rules imposed

by the Court, the Class Representative and Office Depot shall jointly move the Court for entry of a

final order of approval and the associated entry of Judgment. The Settling Parties shall make all

reasonable efforts to secure entry a Final Approval Order and entry of Judgment.




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               6.4.2   Prior to the Final Approval Hearing, the Class Representative will also

move the court to approve the payment of Attorneys’ Fees and Costs and the Service Award set

forth in this Stipulation. Provided it is consistent with this Stipulation, Office Depot will not

oppose Class Representative’s motion, including the payment of Attorneys’ Fees and Costs and

the Service Award set forth in this Stipulation.

               6.4.3   If the Court enters the Preliminary Approval Order, then at the resulting

Final Approval Hearing, the Class Representative and Office Depot, through their counsel of

record, shall address any timely written objections from Class Members as well as any timely

stated concerns of any state official who receives a CAFA notice, if any, and any concerns of the

Court, if any, and shall and hereby do, unless provided otherwise in this Stipulation, stipulate to

final approval of this Stipulation and entry of the Judgment by the Court.

               6.4.4   Provided that the Minimum Participation Rate has been met or exceeded,

that the Effective Date occurs, and that this Stipulation is not voided pursuant to Section 17, Class

Counsel, with the Company’s review and approval, shall determine the Final Settlement Share of

each Participating Class Member, and the Company will issue Settlement Checks to each

Participating Class Member within thirty (30) days after the Effective Date.

               6.4.5   Provided that the Minimum Participation Rate has been met or exceeded,

that the Effective Date occurs, and that this Stipulation is not voided pursuant to Section 17, the

Company shall pay Class Counsel, as a portion of the Maximum Settlement Amount, the amount

awarded by the Court for Attorneys’ Fees and Costs within thirty (30) days after the Effective

Date. Payments made per this paragraph shall constitute full satisfaction of any claim for

attorneys’ fees and/or costs, and Class Representative and Class Counsel, on behalf of themselves




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and all Class Members, agree that they shall neither seek nor be entitled to any additional

attorneys’ fees and/or costs relating to this Action under any theory.

               6.4.6    Provided that the Minimum Participation Rate has been met or exceeded,

that the Effective Date occurs, and that this Stipulation is not voided pursuant to Section 17, the

Company shall pay Class Representative a Service Award from the Maximum Settlement Amount

within thirty (30) days after the Effective Date in exchange for the consideration set forth in this

Stipulation, including but not limited to, the waiver and release of Class Representative’s Released

Claims. Class Representative’s Service Award, in the amount approved by the Court, will be

added to the Final Settlement Share for the Class Representative and included in the Class

Representative’s Settlement Check to the extent practicable.

               6.4.7    The Settlement Checks distributed to Participating Class Members and the

Class Representative will be void if not negotiated within one hundred and eighty (180) days of the

date they are mailed.

               6.4.8    The funds from any unnegotiated settlement checks shall be donated jointly

to the cy pres charitable beneficiaries, The Mitzvah Circle and the Pennsylvania Legal Aid

Network, within fourteen (14) days after the deadline for negotiating such checks.

7.     RELEASE

       7.1     Upon executing a settlement claim certification form and receiving their settlement

check, each Participating Class Member shall be deemed to, and shall have, released and

discharged all Office Depot Releasees with respect to all Released Claims of Participating Class

Members as set forth in Section 1.33.




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        7.2     Upon the Final Judgment, each Class Member who does not submit an Opt-Out

request shall be deemed to and shall have released and discharged all Office Depot Releasees with

respect to Released State Law Claims as set forth in Section 1.34.

        7.3     Upon the Final Judgment, Class Representative, voluntarily and with the advice of

counsel shall be deemed to and shall have released and discharged the Office Depot Releasees

from any and all Class Representative’s Released Claims, as set forth in Section 1.8.

8.      TIME PERIODS AND DEADLINES

        8.1     In computing any period of time prescribed or allowed by this Stipulation, unless

otherwise stated, such computation or calculation shall be made consistent with Federal Rule of

Civil Procedure 6(a) as it exists at the time at issue.

        8.2     If any deadlines related to this Stipulation cannot be met, Class Counsel and

Counsel for the Company shall meet and confer to reach agreement on any necessary revisions of

the deadlines and timetables set forth in this Stipulation. In the event that the Parties fail to reach

such agreement, any of the Parties may apply to the Court via a noticed motion for modification of

the dates and deadlines in this Stipulation.

9.      PARTIES’ AUTHORITY

        9.1     The signatories represent that they are fully authorized to enter into this Stipulation

and to bind the Parties hereto to the terms and conditions hereof.

        9.2     The Parties acknowledge that they have been represented by competent,

experienced counsel throughout all negotiations which preceded the execution of this Stipulation,

and this Stipulation is made with the consent and advice of counsel who have jointly prepared this

Stipulation.




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10.    MUTUAL AND FULL COOPERATION

       10.1    The Parties shall use their best efforts and agree to fully cooperate with each other

to accomplish the terms of this Stipulation, including but not limited to, execution of such

documents and to take such other action as may reasonably be necessary to implement and

effectuate the terms of this Stipulation.

       10.2    Class Representative, Class Counsel, the Company, and Counsel for the Company

agree to use their best efforts to encourage Class Members to submit settlement claim certification

forms in order to participate in the settlement.

11.    NOTICES

       11.1    Unless otherwise specifically provided herein, all notices, demands or other

communications given hereunder shall be in writing and shall be deemed to have been duly given

as of the third business day after mailing by United States registered or certified mail, return

receipt requested, addressed as follows:

To Class Counsel or the Class Representative:

       BERGER & MONTAGUE, P.C.
       Shanon J. Carson, Esquire
       Sarah R. Schalman-Bergen, Esquire
       1622 Locust Street
       Philadelphia, PA 19103

To the Company:

       MORGAN, LEWIS & BOCKIUS LLP
       Christopher K. Ramsey, Esquire
       Stephanie R. Reiss, Esquire
       One Oxford Centre – 32nd Floor
       Pittsburgh, PA 15219

12.    MODIFICATION

       12.1    This Stipulation and its attachments may not be changed, altered, or modified,

except in writing and signed by the Parties hereto, and approved by the Court.


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13.    ENTIRE AGREEMENT

       13.1    This Stipulation and its attachments constitute the entire agreement between the

Parties concerning the subject matter hereof. No extrinsic oral or written representations or terms

shall modify, vary or contradict the terms of this Stipulation. In the event of any conflict between

this Stipulation and any other settlement-related document, the Parties intend that this Stipulation

shall be controlling.

14.    CHOICE OF LAW/JURISDICTION

       14.1    This Stipulation shall be subject to, governed by, construed, enforced, and

administered in accordance with the laws of the Commonwealth of Pennsylvania, both in its

procedural and substantive aspects, and shall be subject to the continuing jurisdiction of the Court.

This Stipulation shall be construed as a whole according to its fair meaning and intent, and not

strictly for or against any party, regardless of who drafted or who was principally responsible for

drafting this Stipulation or any specific term or condition thereof.

15.    COUNTERPARTS

       15.1    This Stipulation may be executed in counterparts, and when each party has signed

and delivered at least one such counterpart (including by email), each counterpart shall be deemed

an original, and, when taken together with other signed counterparts, shall constitute one

Stipulation, which shall be binding upon and effective as to all Parties.

16.    PUBLIC COMMENT

       16.1    The Company, Class Representative, Class Counsel, and Counsel for the Company

will not issue any press releases or initiate any contact with the press or media regarding the terms

of this Stipulation. If the Company, Class Representative, Class Counsel, or Counsel for the

Company are contacted by the media, they will merely inform them that the case has been

resolved, and refer them to the public filings.


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17.     VOIDING THE AGREEMENT

        17.1      In the event this Stipulation, or any amended version agreed upon by the Parties,

does not obtain judicial approval for any reason, and/or the Court decides not to issue a

Preliminary Approval Order, this Stipulation (except for those provisions relating to

non-admissibility and non-admission of liability) shall be null and void in its entirety, unless

expressly agreed in writing by all Parties.

        17.2      In the event the Court fails to enter a Final Approval Order, fails to certify the class

action for settlement purposes as agreed by the Parties in this Stipulation, or fails to enter the

Judgment, this Stipulation (except for those provisions relating to non-admissibility and

non-admission of liability) shall be null and void in its entirety, unless expressly agreed in writing

by all Parties.

        17.3      In the event of any finding or ruling by this Court or an appellate court in this

Action that directly or indirectly modifies or affects (a) the extent or scope of the Released Claims

of Participating Class Members, the Released State Law Claims, and/or the Class Representative’s

Released Claims provided for in this Stipulation; or (b) the Maximum Settlement Amount to be

paid by the Company pursuant to this Stipulation, the Company shall have the absolute

discretionary right to terminate the settlement and this Stipulation through written notice to Class

Counsel within five (5) business days of receipt of notice of such finding or ruling. The above

notwithstanding, the Parties agree that should the Court modify the Stipulation in such a way that

would otherwise cause the Company to terminate the Stipulation, the Parties will, within the above

indicated period, meet and confer in a good faith attempt to reach agreement and preserve the

Stipulation.

        17.4      In the event that the Minimum Participation Rate is not met or exceeded, the

Company shall have the absolute discretionary right to terminate the settlement and this


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Stipulation through written notice to Class Counsel within five (5) business days of receipt of

notice of that the Minimum Participation Rate has not been met or exceeded. The above

notwithstanding, the Parties agree that if the Minimum Participation Rate has not been met or

exceeded such that the Company could exercise its absolute discretionary right to terminate the

Stipulation, the Parties will, within the above indicated period, meet and confer in a good faith

attempt to reach agreement and preserve the Stipulation.

18.    CLASS REPRESENTATIVE’S CERTIFICATIONS

       18.1    Class Representative hereby certifies that:

           a) He has signed this Stipulation voluntarily and knowingly, after adequate time to

review and consider this Stipulation, in exchange for the consideration described herein, which he

acknowledges is adequate and satisfactory;

           b) He has been advised by his attorneys and has consulted with his attorneys before

signing this Stipulation;

           c) He has been provided with adequate time in which to consider the release of claims

included in the Class Representative’s Released Claims before entering this Stipulation; and

           d) Neither the Company nor any of its agents, representatives, employees, or attorneys,

have made any representations to the Class Representative concerning the terms or effects of this

Stipulation other than those contained herein.

       IN WITNESS WHEREOF, the undersigned have duly executed this Stipulation as of the

date indicated below:




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Dated: April   ,   2013
                          Timothy Stivers




Dated: Aprilj
       , 2013
       1                  Office Depot, Inc.


                          By:______
                          Pr(ame: E4,              f3f2lH
                          Print Title: ,& ‘I j2 :JNt: iLil (t)iI,t F?


APPROVED AS TO FORM:



Dated: April, 2013
                          Shanon I. Carson (ID No. 85957)
                          Sarah R. Schalman-Bergen (ID No. 206211)
                          BERGER & MONTAGUE, P.C.
                          1622 Locust Street
                          Philadelphia, PA 19103
                          Telephone: (215) 875-3000
                          Facsimile: (215) 875-4604
                          scarson(ä)bm.net
                          sscha1man-bergen(bm.net


                          Seth R. Lesser
                          Fran L. Rudich
                          Michael J. Palitz
                          KLAFTER OLSEN & LESSER LLP
                          Two International Drive, Suite 350
                          Rye Brook, NY 10573
                          Telephone: (914) 934-9200
                          Facsimile: (914) 934-9220
                          seth(k1afterolsen.com
                          fran@klafterolsen.com
                          mpalitz@klaflerolsen.com




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                                          EXHIBIT A

                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TIMOTHY STIVERS, individually and on          )     CIVIL ACTION
behalf of all other similarly situated,       )
                                              )     Case No.: 2:12-cv-01534-CRE
              Plaintiff,                      )
                                              )
v.                                            )
                                              )
OFFICE DEPOT, INC.,                           )
                                              )
               Defendant.                     )



NOTICE TO CLASS MEMBERS REGARDING PENDENCY OF CLASS ACTION AND
           NOTICE OF HEARING ON PROPOSED SETTLEMENT

TO: ALL INDIVIDUALS EMPLOYED BY OFFICE DEPOT AS ASSISTANT STORE
MANAGERS IN PENNSYLVANIA FROM OCTOBER 23, 2008 TO [Date of preliminary
approval].

I.     PURPOSE OF THIS NOTICE

        The purpose of this Notice is to inform you that the Court has approved a settlement of the
claims that have been brought against Office Depot, Inc. (“Office Depot” or the “Company”) in the
above-captioned lawsuit, to explain the terms of the settlement to you, and explain your rights and
options with respect to the lawsuit and the Settlement. The Notice is being sent to you because
records show that you are a class member, and you may be entitled to a cash payment through the
settlement. If you wish to receive payment under the Settlement, please complete, sign and
return the enclosed Settlement Claim Certification Form and an executed Form W-9
postmarked by [INSERT DATE].

II.    DESCRIPTION OF THIS LAWSUIT

        On October 23, 2012, Timothy Stivers (“Class Representative”), who worked as an
Assistant Store Manager for Office Depot in Pennsylvania, filed a complaint against Office Depot
in the United States District Court for the Western District of Pennsylvania (the “Lawsuit”). The
Lawsuit claims that Office Depot violated the Pennsylvania Minimum Wage Act (“PMWA”), the
Pennsylvania Wage Payment and Collection Law (“WPCL”), and the Fair Labor Standards Act
(“FLSA”), and was unjustly enriched under the Pennsylvania common law by failing to pay him
proper overtime compensation as required by Pennsylvania law. Specifically, the Lawsuit claims
that Office Depot paid overtime compensation to the Class Representative and the Class pursuant
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to the fluctuating workweek method, in violation of Pennsylvania state law. The Class
Representative brought the claims under Pennsylvania law on his own behalf and on behalf of all
Office Depot Assistant Store Managers in Pennsylvania. The Lawsuit seeks damages for the
alleged violations, including interest, liquidated damages, penalties, and attorneys’ fees and costs.

        Office Depot denies the Class Representative’s allegations and maintains that it properly
paid its Pennsylvania employees all wages due to them and that it is not liable for the damages
sought in the Lawsuit.

       The Court has certified, for settlement purposes only, the following class (the “Class”):
The group of persons employed by Office Depot in the Commonwealth of Pennsylvania as an
Assistant Store Manager during the Class Period for at least one calendar week. “Class Period”
means the period during which the Class Member was employed by Office Depot in the
Commonwealth of Pennsylvania at any time from October 23, 2008 through January 1, 2011, the
date when Office Depot stopped paying Class Members overtime pursuant to the fluctuating
workweek method.

       The attorneys for the Class in the Action (“Class Counsel”) are below:

Shanon J. Carson, Esq.                               Seth R. Lesser
Sarah R. Schalman-Bergen, Esq.                       Fran L. Rudich
BERGER & MONTAGUE, P.C.                              Michael J. Palitz
1622 Locust Street                                   KLAFTER OLSEN & LESSER LLP
Philadelphia, PA 19103                               Two International Drive, Suite 350
Telephone: (215) 875-3053                            Rye Brook, NY 10573
Facsimile: (215) 875-4604                            Telephone: (914) 934-9200
Email: sschalman-bergen@bm.net                       Facsimile: (914) 934-9220
                                                     Email: mpalitz@klafterolsen.com
Gary Mason
Nicholas Migliaccio
Jason Rathod
WHITFIELD BRYSON & MASON LLP
1625 Massachusetts Ave. NW, Suite 605
Washington, DC 20036
Telephone: (202) 429-2290
Facsimile: (202) 429-2294
Email: jrathod@wbmllp.com

        Office Depot in this case is represented by Christopher K. Ramsey, Esquire and Stephanie
R. Reiss, Esquire, MORGAN LEWIS & BOCKIUS, LLP, One Oxford Centre – 32nd Floor,
Pittsburgh, PA 15219, (412) 560-3300.

        On [** INSERT DATE**], the Court granted preliminary approval of the proposed
Settlement. The Court will decide whether to give final approval to the proposed Settlement at a
hearing scheduled for [** INSERT DATE**] (“Final Approval Hearing”). See Section V below
for details.

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III.    TERMS OF THE SETTLEMENT

        Subject to Court approval, the terms of the Settlement are as follows:

        Office Depot will pay up to Ninety-Eight Thousand Dollars and Zero Cents ($98,000.00)
(hereafter “the Maximum Settlement Amount”) to pay: (a) all Class Members who submit timely
claims pursuant to the instructions in this Notice (“Participating Class Members”); (b) Class
Counsel’s fees and litigation costs; and (c) a service award to the Class Representative.

        After deducting from the Maximum Settlement Amount for attorneys’ fees and costs and
for a service award to the Class Representative, from the remaining amount, Office Depot will
make a settlement payment to each Participating Class Member on a pro rata basis, as described
below.

        Specifically, the Final Settlement Share for each Participating Class Member will be based
on the total number of overtime hours in the Company’s records during the period the Participating
Class Member worked as an Assistant Store Manager for Office Depot in the Commonwealth of
Pennsylvania between October 23, 2008 and January 1, 2011. Each overtime hour will represent
one settlement share. An additional settlement share will be added for each week worked by a
Participating Class Member during the period from October 23, 2008 and January 1, 2011. The
sum of shares for all Participating Class Members will be divided into the Net Settlement Amount
to reach a per share dollar figure. The figure will then be multiplied by each Participating Class
Member’s number of settlement shares to determine each Participating Class Member’s Final
Settlement Share.

       Each Class Member will receive in his/her Settlement Claim Certification Form the
approximate amount or range of his or her Settlement Share. The final Settlement Share will
depend on final Court approval of the Settlement and the number of Participating Class Members
who participate in the Settlement and the number of settlement shares of each. Amounts allocated
to Class Members who properly and timely opt out of the Settlement in accordance with Section
IV below shall remain property of Office Depot. Fifty percent of each Participating Class
Member’s Settlement Share represents payments for liquidated damages and/or interest and will
be paid subject to an IRS Form 1099, and the remaining fifty percent of each Participating Class
Member’s Settlement Share will be reported as, and will be withheld upon as, wages for tax
purposes. Neither Class Counsel nor the Company makes any representations concerning the tax
consequences of this Settlement or participation in it.

       Class Counsel will ask the Court to award attorneys’ fees of up to 33% of the Maximum
Settlement Amount and to award it litigation costs incurred. In addition, Class Counsel will ask
the Court to authorize a service award payment of up to $1,500 for the Class Representative.

        If the Court approves the Settlement, Class Members who do not exclude themselves from
the Settlement will release the Released State Law Claims against Office Depot. This means the
Class Members will give up the right to sue Office Depot again for the released claims. Each Class
Member who does not request exclusion from the Settlement in accordance with Paragraph IV

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below is deemed to fully and finally release and discharge Office Depot from any and all Released
State Law Claims. “Released State Law Claims” means any and all claims asserted in the Lawsuit
which arose under the laws of Pennsylvania, including claims under the Pennsylvania Minimum
Wage Act, Pennsylvania Wage Payment and Collection Act, and for unjust enrichment, for the
time period of each Class Member’s employment as Assistant Store Managers in the
Commonwealth of Pennsylvania from the beginning of their employment through [the
Preliminary Approval Date].

         By submitting the Settlement Claim Certification Form by the deadline stated in this
Notice of Settlement, provided that the Court enters a Final Approval Order, you will be agreeing
to release the Released Claims of the Participating Class Members that you may have against
Office Depot in exchange for your Settlement Share. Your release applies to Office Depot as well
as its affiliates (including, without limitation, their parents and subsidiaries), predecessors,
successors, divisions, joint ventures, and related companies and assigns, and each of these entities’
past or present directors, officers, employees, partners, members, principals, agents, insurers,
co-insurers, re-insurers, shareholders, attorneys, and personal or legal representatives (the “Office
Depot Releasees”). “Released Claims of the Participating Class Members” means any and all
federal, state and local wage and hour claims, including but not limited to, claims under the
Pennsylvania Minimum Wage Act, Pennsylvania Wage Payment and Collection Act, Fair Labor
Standards Act, and for unjust enrichment, for any type of relief, including without limitation,
claims for wages, overtime damages, unpaid costs, penalties (including, but not limited to, late
payment penalties, record keeping penalties, and meal break penalties), premium pay, liquidated
damages, punitive damages, interest, attorneys’ fees, litigation costs, restitution, and equitable
relief, whether known or unknown, which were or could have been asserted in the Lawsuit, for the
time period of each Participating Class Member’s employment as an Assistant Store Manager in
the Commonwealth of Pennsylvania from the beginning of their employment through [the
Preliminary Approval Date].

IV.    YOUR OPTIONS

       You have three options:

       Option 1. Accept the settlement. To receive a payment pursuant to the Settlement, fill out
and mail or submit the Settlement Claim Certification Form enclosed and the Form W-9 enclosed
by [**INSERT 60 days from mailing**]. You may submit your Settlement Claim Certification
Form and executed Form W-9 to Class Counsel by using the addressed, stamped envelope or by
otherwise sending the form via mail, email or fax to Berger & Montague, P.C., Attn: Office Depot
Settlement, 1622 Locust Street, Philadelphia, PA 19104, Fax No. (215) 875-4604; email
MKIM@BM.NET. If you are a current Office Depot employee, you may submit your Settlement
Claim Certification Form and executed Form W-9 via mail, email or fax to the Director of
Employee Relations, Loan Ellis, at 6600 North Military Trail, Boca Raton, Florida 33496, Fax No.
(561) 438-7102, email: Loan.Ellis@officedepot.com. If you do not submit your Settlement
Claim Certification Form and an executed Form W-9 by [insert date], you will not receive a
Settlement Payment.

       Option 2. You may “opt out” and exclude yourself from the settlement. If you opt out,
you will not receive any cash payment, and you will not release any claims you may have. If you
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opt out, you will be free to pursue whatever legal rights you may have by pursuing your own
lawsuit at your own risk and expense. If you “opt out,” Office Depot will retain any cash payment
attributable to you. To exclude yourself, you must mail a letter to Class Counsel at the address
identified under Option 1 stating that you wish to do so. You must postmark your letter no later
than [**INSERT DATE 60 days from mailing**].

        Option 3. You may object to the settlement. If you object to the Settlement, you must
submit your objection in writing to the Class Counsel at the address identified under Option 1. All
objections must be signed and set forth all grounds for objection, your address, telephone number,
and the name of the Lawsuit: Stivers v. Office Depot, Inc., Case No. 12-cv-01534. All objections
must be postmarked to Class Counsel no later than [** INSERT DATE – 60 days from
mailing**].

        If you submit a timely objection, you may appear, either personally or through an attorney,
at your own expense, at the Final Approval Hearing, discussed below. Your objection should
clearly explain why you object to the proposed settlement and must state whether you or someone
on your behalf intends to appear at the Final Approval Hearing.

V.      FINAL APPROVAL HEARING ON PROPOSED SETTLEMENT

       The Court will hold a Final Approval Hearing on the fairness and adequacy of the proposed
settlement, the plan of distribution, Class Counsel’s request for attorneys’ fees and litigation costs,
and the service award to the Class Representative on [** INSERT DATE AND TIME**] in
Courtroom [**INSERT**] of the United States District Court, Western District of Pennsylvania,
located at U.S. Courthouse, 700 Grant Street, Pittsburgh, PA 15219.

VI.     ADDITIONAL INFORMATION

       This Notice only summarizes the Action, the settlement, and other related matters. For
more information, you may review the Court’s files, including the detailed Joint Stipulation and
Settlement Agreement, which will be on file with the Clerk of the Court. The pleadings and other
records in this Lawsuit, including the Joint Stipulation and Settlement Agreement, may be
examined at the records Office of the Clerk, United States District Court, Western District of
Pennsylvania, U.S. Courthouse, 700 Grant Street, Pittsburgh, PA 15219.

       Any questions regarding this Notice should be directed to Class Counsel at the above
addresses and telephone numbers. If your address changes or is different from the one on the
envelope enclosing this Notice, please promptly notify Class Counsel for future mailings,
including mailing of your settlement payment.

VII.    OBTAINING PAYMENT UNDER THE AGREEMENT

        To receive money from the settlement, you must sign and return the Settlement Claim
Certification Form and executed Form W-9 to the Class Counsel by [INSERT DATE – 60 days
from mailing]. You may use the accompanying, self-addressed, stamped envelope or by
otherwise sending the form via mail, email or fax to Berger & Montague, P.C., Attn: Office Depot
Settlement, 1622 Locust Street, Philadelphia, PA 19103, Fax No. (215) 875-4604; email

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MKIM@BM.NET

       Alternatively, if you are a current Office Depot employee, you may sign and submit the
Settlement Claim Certification Form and executed Form W-9 via mail, email or fax to the Director
of Employee Relations, Loan Ellis, at 6600 North Military Trail, Boca Raton, Florida 33496, Fax
No. (561) 438-7102, email: Loan.Ellis@officedepot.com by [INSERT DATE – 60 days from
mailing]. Such Settlement Claim Certification Form shall, in turn, be provided to the Class
Counsel.

VIII. NO RETALIATION OR DISCRIMINATION

        The Company will not take any adverse action against any individual because he/she
participates in this Settlement. In fact, the Company encourages you to participate in this
settlement and receive your share of the monetary proceeds.

IX.    NO COURT OPINION EXPRESSED AS TO THE MERITS OF THE CASE

        On [INSERT DATE], the Court preliminarily approved the Settlement Agreement as fair
and reasonable. The Court has expressed no opinion, however, regarding the merits of the claims
asserted in this case. If you have any questions about the settlement, please contact Class Counsel
using the contact information set forth above. Please do not contact the Court.

X.     ADDRESS CHANGES

        It is your responsibility to keep Class Counsel apprised of your correct address. If your
address is different from the address on the envelope which contained this Notice, please make any
corrections to your address, name, and/or Social Security number on the enclosed Settlement
Claim Certification Form and return it to Class Counsel at the address noted above.

Dated: [insert date], 2013




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                                             EXHIBIT B

                           SETTLEMENT CLAIM CERTIFICATION

                                Timothy Stivers v. Office Depot, Inc.
      United States District Court for the Western District of Pennsylvania (Case No.: 12-1534)

Instructions: You must complete this Settlement Claim Certification and the enclosed Form
W-9 if you want to participate in the settlement that is described in the Notice to Class
Members Regarding Pendency of Class Action and Notice of Hearing on Proposed
Settlement (“Notice”) that accompanies this form, and receive money from this Settlement.
The deadline for mailing or submitting this form and the executed Form W-9 is [INSERT DATE]
(as evidenced by the postmark). In order to be eligible to receive a payment from the Settlement,
you must complete and mail or submit this form and the executed Form W-9 in accordance with the
instructions in the Notice.

I.       PLEASE PROVIDE ANY CORRECTIONS TO THE FOLLOWING
         INFORMATION

         Office Depot, Inc.’s records show the following contact information for you:

         [Class Member Name]
         [Address]
         [Address]
         [Last 4 digits of Social security no.]

        If any of this information is incorrect or out of date, please provide corrections below so
that you can participate in the settlement described in this Notice.

         Name (first, middle and last): ______________________________________________
         Home Street Address: _____________________________________________________
         City, State, Zip Code: _____________________________________________________
         Social Security Number: __________________________

II.      YOUR WORK HISTORY AT OFFICE DEPOT IN PENNSYLVANIA

       The amount of your settlement payment is described in Section III of the Notice.
According to records maintained by Office Depot, your total estimated settlement payment
(assuming you properly complete and return this Settlement Claim Certification Form by the
deadline) will be between

         $[minimum amount] and $[maximum amount]

        (less applicable taxes and withholding), depending on the number of Class Members who
elect to participate in this settlement.
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III.    RELEASE OF CLAIMS

        In exchange for my settlement payment, I, on behalf of myself, and each of my heirs,
representatives, successors, assigns and attorneys, hereby fully, finally, and forever release and
discharge Office Depot and the Office Depot Releasees (as defined in Section III of the Notice)
from any and all federal, state and local wage and hour claims, including but not limited to, claims
under the Pennsylvania Minimum Wage Act, Pennsylvania Wage Payment and Collection Act,
Fair Labor Standards Act, and for unjust enrichment, for any type of relief, including without
limitation, claims for wages, overtime damages, unpaid costs, penalties (including, but not limited
to, late payment penalties, record keeping penalties, and meal break penalties), premium pay,
liquidated damages, punitive damages, interest, attorneys’ fees, litigation costs, restitution, and
equitable relief, whether known or unknown, which were or could have been asserted in the
Lawsuit, for the time period of my employment as an Assistant Store Manager in the
Commonwealth of Pennsylvania from the beginning of my employment through [the Preliminary
Approval Date].

IV.     MAILING INSTRUCTIONS

        If you want to participate and receive a payment from this settlement, please mail this
completed Settlement Claim Certification Form and the executed Form W-9 to Class Counsel
using the enclosed addressed envelope or at the address, fax or email address listed below. Your
fully and properly completed Settlement Claim Certification Form and executed Form W-9 must
be postmarked on or before [INSERT DATE– 60 days from mailing] or else you will not receive
any payment under this Settlement. The address of Class Counsel for this purpose is:

               Berger & Montague, P.C.
               Attn: Office Depot Settlement
               1622 Locust Street
               Philadelphia, PA 19103
               Phone: (215) 875-3047
               Fax: (215) 875-4604
               Email: MKIM@BM.NET

       Alternatively, if you are a current Office Depot employee, you may sign and submit the
Settlement Claim Certification Form and executed Form W-9 via mail, email or fax to the Director
of Employee Relations, Loan Ellis, at 6600 North Military Trail, Boca Raton, Florida 33496, Fax
No. (561) 438-7102, email: Loan.Ellis@officedepot.com by [INSERT DATE – 60 days from
mailing]. Such Settlement Claim Certification Form and executed Form W-9 shall, in turn, be
provided to Class Counsel by the Company or Counsel for the Company.

        If you have any questions about completing this Settlement Claim Certification Form,
please call Class Counsel at [phone no.].




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V.     NON-RETALIATION

       Pursuant to the Settlement Agreement, Office Depot will not retaliate against you in any
manner as a result of your submitting this Settlement Claim Certification Form. In fact, Office
Depot encourages you to participate in this settlement and receive your share of the monetary
proceeds.

VI.    PLEASE SIGN BELOW

        I declare that the foregoing statements made by me on this form are true and correct, and
that I have read and understand the Notice.


___________________________________                ___________________________________
Print or Type Name                                 Signature

                                                   ___________________________________
                                                   Date




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                                          EXHIBIT C

                           [DEFENSE COUNSEL LETTERHEAD]

[DATE]

United States Attorney General
Eric H. Holder, Jr.
U.S. Department of Justice
950 Pennsylvania Avenue
Washington, DC 20530-0001

Re:      Stivers v. Office Depot, Inc., Case No. Case No.: 2:12-cv-01534-CRE (W.D. Pa.)

Dear Attorney General Holder:

Defendant Office Depot, Inc. provides this notice pursuant to the Class Action Fairness Act
of 2005 (“CAFA”), 28 U.S.C. § 1715. Pursuant to CAFA, you are not required to comment
on the settlement. Please note that an order giving final approval of a proposed settlement
may not be issued earlier than 90 days after the later of the dates on which the appropriate
federal official and the appropriate state official are served with this notice. See 28 U.S.C.
§ 1715(d).

The parties filed a Stipulation of Settlement with the Court on [**DATE**]. The Court
has scheduled a hearing for final approval of the settlement on [**DATE AT LEAST 90
DAYS AFTER APPROPRIATE STATE OFFICIALS RECEIVE NOTICE**]. In
accordance with its obligations under CAFA, Office Depot encloses the following:

      (1) a copy of the Complaint;

      (2) the proposed Notice To Class Members Regarding Pendency of a Class Action and
          Notice of Hearing On Proposed Settlement;

      (3) the Stipulation of Settlement in this action; and

      (4) a list of class members identified from Defendant’s available records, with
          percentages as to how many class members currently reside in each state.

If you have questions about this notice, the lawsuit or the enclosed materials, or if you did
not receive any of the above-listed materials, please contact the Defense counsel listed
below.

Sincerely,


[DEFENSE COUNSEL]
